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                               UNITED STATES DISTRICT COURT

                            NORTHERN DISTRICT OF CALIFORNIA

                                                  )
   UNITED STATES OF AMERICA,                      )     CR-14-00030-JST
                                                  )
                  Plaintiff,                      )
                                                  )
                      vs.                               ORDER RE: CJA APPOINTMENT
                                                  )     OF AND AUTHORITY TO PAY
            MARCUS BELTON,                        )     COURT APPOINTED COUNSEL
                                                  )
                 Defendant.                       )
                                                  )



         The individual named above as defendant, having testified under oath or having

otherwise satisfied this court that he or she (1) is financially unable to employ counsel and

(2) does not wish to waive counsel, and, because the interests of justice so require, the Court finds

that the individual is indigent, therefore;

         IT IS ORDERED that the attorney whose name and contact information are listed below is

appointed to represent the above defendant, solely for the limited purpose of assessing eligibility for

reduction of sentence and filing of compassionate release motion under the First Step Act.

                               Julia Mezhinsky Jayne
                               50 Osgood Pl., #500
                               San Francisco, CA 94133
                               (415)623-3600
                               julia@jaynelawgroup.com



                                       Appointing Judge: Hon. Judge Jon S. Tigar


                                 July 17, 2020                      July 16, 2020
                                       Date of Order                Nunc Pro Tunc Date
